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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION
                       CASE NO.: 4:19-cv-00162-MW-MAF

ELIZABETH        FREDERICK,           as
Personal Representative of the Estate of
Jennifer Casey Norred and on behalf of
the survivors, Elizabeth Frederick,
Mother and William James Norred,
Father,

        Plaintiff,

v.

WALTER MCNEIL, Sheriff of Leon
County, Florida, CORIZON, LLC, a
Health Services Corporation, MARIA
LILIANA           GARCIA,       M.D.,
KIMBERLY PETERSEN, DEBBIE
SELLERS and MISTY ROBERTSON,
in their individual capacities.

        Defendants.
                                       /

                 DEFENDANT MISTY ROBERSTON’S
        RESPONSE TO PLAINTIFF’S OMNIBUS MOTION IN LIMINE

        Defendant Misty Robertson (“Robertson”) files her Response to the

Plaintiff’s Omnibus Motion in Limine [ECF #137] as follows:

        Background

        Norred entered the Leon County Jail on April 2, 2017, and an Intake

Receiving and Screening was done. She disclosed daily alcohol and marijuana

use.    Her mental health history included schizophrenia, bipolar disorder and
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    medication for depression, but no psychiatric hospital admissions or suicide

    attempts [ECF #78-1, pp. 1-6].                  Corrections officials decided she should be

    segregated from other inmates because of the nature of her crime [ECF #78-1, pp.

    7, 9]. Norred signed a medical consent form [ECF #78-1, p. 11]. She was referred

    to a mental health counselor because she “used to take psych meds but [stated]

    they didn’t work” [ECF #78-1, pp. 43, 52].

            On April 4, 2017, Norred filled out a Health Services Request Form, seeking

    medications for hypothyroidism and a vegetarian diet. The medication could not

    be confirmed because Norred did not provide information as to the prescriber. On

    April 13, 2017, a nurse practitioner ordered bloodwork regarding this condition.

    She made no other complaints [ECF #78-1, p. 27, 50, 52].

            Mental health counselor Robertson examined Norred on April 5, 2017.

    Norred declined treatment, stating, “Meds don’t work anyway. I don’t see why

    this is more important than my thyroid medicine. That’s what I need handled, I

    don’t need this.” She was noted to be agitated and irritable, but not suicidal [ECF

    #78-1, p. 44].

            On April 10, 2017, a history and physical was performed by a registered

    nurse. Norred disclaimed a history of suicide attempts or current suicidal ideation

    [ECF #78-1, p. 20, 54-55].




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            On July 21, 2017, Norred reportedly attempted to hang herself in her cell.

    She was examined by Dr. Garcia, who found her to be in no acute distress; found

    her able to follow instructions; and had no swelling, abrasions or redness on her

    neck. Dr. Garcia placed her on direct observation [ECF #78-1, pp. 23-25, 50, 52-

    53]. However, a jail lieutenant ordered her placed in a restraint chair. While

    restrained, Norred was regularly allowed to get out of the chair to stretch, exercise

    and shower. Just before her release from the chair, Norred told a registered nurse

    “I don’t want to kill myself”. “I’m OK I just had a disagreement with my Mom

    and Stepfather.” She was released from the chair the following day, and Dr.

    Garcia approved her release from a medical perspective and Robertson put her on

    direct observation [ECF #78-1, pp. 45, 50, 53, 59-63]. Logs were maintained by

    medical staff at regular intervals from 11 a.m. July 22, 2017 until 4 a.m. July 24,

    2017 [ECF #78-1, pp. 72-73].

            Robertson examined Norred at 7 a.m. on July 24, 2017. Norred repeated

    what she told the registered nurse two days previously: “I had gotten bad news

    from my parents so I was upset but I don’t really want to kill myself. I want my

    clothes back.” Robertson found her oriented to person, place, time and situation;

    her behavior normal; her mood stable; and her thought goal directed, logical and

    coherent. Norred denied suicidal ideations. Robertson released her from suicide

    watch [ECF #78-1, pp. 45-46, 51].


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            Norred hung herself about three hours later. Resuscitation efforts were

    unsuccessful, and she was declared dead at 10:24 a.m. [ECF #78-1, p. 58].

            Robertson worked in the jail in various capacities for 14 years, and knew

    Norred through her many incarcerations. But her dealings with her during this

    incarceration were limited because she refused mental health treatment, which was

    her right [ECF #78-5, pp. 30, ln. 12-25; 31, ln. 1-17; 38, ln 20-25; 39, ln. 1-25; 40,

    ln. 2]. This included Robertson’s attempts to speak to Norred while she was in the

    restraint chair [ECF #78-5, pp. 40, ln. 17-25; 41, ln. 1- 7; 42, ln 6-14; 44, ln 11-18].

    When Robertson released Norred from suicide watch she did not exhibit or state

    any intention to harm herself, and Robertson believed her when she gave “rational

    reasons for her behavior.” Based on that belief and employing her professional

    judgment, she determined that Norred could be safely released from suicide watch.

    Had she thought differently, “there was no obstacle to carrying out that decision.

    She would have remained on suicide watch” [ECF ##78-2, ¶¶4-5; 78-5, p. 54, ln

    11-17].

            Argument

            1. Attorney’s Personal Opinions

            Frederick begins by seeking an order preventing the undersigned from

    injecting personal opinions at trial. During the prefiling conference, the

    undersigned made clear that he is not in the habit of violating basic rules that


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    invariably result in immediate mistrial, accumulating sanctions or withdrawal of

    the privilege to practice in this Court.

            2. Referring to Norred by her middle name

            During the prefiling conference, the undersigned made clear that he does not

    oppose this allowance.

            3. Comparative Negligence Argument

            Frederick seeks to ban any mention of comparative negligence or fault in the

    presence of the jury. This is an unclear argument. Comparative fault is a jury

    instruction issue, but this argument and others later in the Motion seem to indicate

    Frederick wants more: she wants to preclude any evidence that Norred played a

    hand in her suicide.

            Evidence of causation is still required in a prisoner suicide case. That means

    proof a constitutional violation was the proximate cause of the suicide. In this

    instance, the claim is Robertson violated Norred’s constitutional rights by failing to

    prevent her suicide. Mental health experts recognize that suicide is a volitional act

    done free of serious mental illness, and Frederick claims the lack of mental health

    care played a large part in the suicide. After all, she did sue a mental health

    counselor. However, the fact is that Norred often refused to meet with mental

    health professionals and, when she agreed, refused to participate in treatment. It’s

    also unquestionable that Norred told Robertson and a nurse that she was not


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    suicidal shortly before committing suicide. That she played a hand in her own

    demise is certainly evidence to be considered by the jury.

            4. Impermissible Character Evidence

            Frederick seeks to exclude evidence of disciplinary reports, which are a type

    of charging documents for jail rule violations. During the prefiling conference, the

    undersigned informed Frederick’s lawyers that she didn’t have any disciplinary

    reports while in the jail. The issue is nonexistent.

            5. Evidence Regarding Refusal or Access to Treatment

            Frederick seeks to exclude evidence that Norred refused mental health

    treatment because it “would confuse the jury” [ECF #137, pp. 8-9]. She does not

    explain from where or what the confusion will arise. Again, this goes to the core of

    the case and the entire basis for Frederick’s claim.

            But there’s more: Frederick wants to exclude evidence of Norred’s denials

    of suicidal intentions, which are in the form of both medical records and witness

    testimony, claiming they are hearsay. They are not; they’re statements by a party,

    which are not hearsay, and are therefore admissible. Fed. R. Evid. 801(d)(2). They

    are also admissible under Rule 803(3), which allows the admission of "… [a]

    statement of the declarant's then existing state of mind, emotion, sensation or

    physical condition (such as intent, plan, motive, design, mental feeling, pain and

    bodily health)…."


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            But even if the statements are hearsay, Frederick’s argument that they aren’t

    admissible through Rule 803(4) is incorrect. She relies entirely on U.S. v. Cain,

    603 Fed. Appx. 840 (11th Cir. 2015). In that unreported case, a criminal defendant

    sought to introduce testimony supporting an insanity defense from a clinical social

    worker in the Broward County jail. The district court excluded the evidence, but

    the 11th Circuit never addressed the issue—it merely recognized it had not been

    previously addressed. Instead, it found other evidence from practitioners retained

    to examine the defendant made the issue moot. Id. at 843-44.

            However, the Cain court did recognize that “at least two circuits have

    resolved this issue in favor of allowing statements made to social workers for

    treatment purposes to count as an exception to the hearsay rule pursuant to Rule

    803(4). See United States v. Kappell, 418 F.3d 550, 557 (6th Cir. 2005); Davignon

    v. Clemmey, 322 F.3d 1, 8 n.3 (1st Cir. 2003).” See also United States v. Gonzalez,

    905 F.3d 165, 200 (3d Cir. 2018)(collecting cases from several circuits, and noting

    that the “decisions of our sister Courts of Appeals support this conclusion, as every

    Court of Appeals to consider this issue has determined that statements made to a

    mental health professional for purposes of diagnosis or treatment qualify under the

    hearsay exception in Rule 803(4)”).

            6. Testimony from Frederick regarding Norred’s refusal to accept
               mental health treatment in the jail

            Frederick next seeks to preclude questioning regarding this issue because it’s

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    “speculative.” It is, but not in the way she thinks: it’s speculative to make this

    argument because the issue has not been breached. Frederick was Norred’s mother,

    and they lived together well into her adulthood. Frederick encouraged Norred to

    seek mental health treatment in the jail, which she did not do. With the proper

    predicate the line of questioning could also be entirely proper.

            7. Comments regarding uncalled witnesses

            Again, Robertson has no intention to violate what could be black-letter law,

    but it is too early to address a blanket exclusion, as depending on how Frederick

    presents her case, the issue could become relevant. This is a trial issue, and the

    undersigned will not raise the issue at trial before consulting the Court.

            8. Cell Defecation

            This was addressed at the prefiling conference: Robertson does not intend to

    show feces to the jury. But the decision may change with Frederick’s presentation.

    It’s another trial issue and the undersigned will not raise the issue at trial before

    consulting the Court.

            9. Norred’s charges and convictions

            As discussed in the prefiling conference, Robertson knows of no qualifying

    convictions making this admissible.

            10.Conviction evidence of other witnesses

            Frederick seeks to exclude impeachment evidence through criminal history.


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    As discussed in the prefiling conference, it’s impossible to address this issue

    without knowing the identity of the witnesses and obtaining criminal histories.

    That didn’t happen.

            11.Evidence linking Norred’s crime to her mental health

            This argument is exceedingly unclear. The best that can be made is

    Frederick seeks to exclude testimony regarding her behavior in the jail and action

    taken by jail employees with regard to that behavior—actions taken in an attempt

    to keep her and other inmates safe. It’s a curious argument. Frederick claims

    Norred committed suicide because of mental illness. Her behavior in the jail is

    essential to that claim. Every employee in the jail is trained to recognize some

    signs of mental illness and how those signs should be addressed. They are certainly

    allowed to testify to their own observations.

            12.Evidence regarding Corizon’s contract with the Sheriff, which
               disallows inpatient mental health referrals

            This is another curious argument. Frederick seeks an allowance to introduce

    the contract because it represents the level of care available in the jail. It’s a simple

    evidentiary issue, and the undersigned can conjure no reason, at prefiling or now,

    for it to be included in a motion in limine. However, the reason Norred could not

    be sent to an inpatient mental health facility, such as a state hospital, is clear: she

    was in custody. Robertson had no authority to send her to the state hospital. That

    authority rested solely with the criminal court.

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            13.Settlement Evidence

            Frederick seeks to disallow evidence of the Sheriff’s settlement. Again, the

    undersigned has no wish to create an immediate mistrial, be sanctioned or

    disallowed from practicing in this Court. The same was said during the prefiling

    conference.

            14.Evidence of past alcohol and drug use

            Frederick seeks to exclude evidence of Norred’s previous alcohol and drug

    use because it is irrelevant. Of course, she provides no specific pieces of evidence

    to which she objects, so it makes a response very difficult.

            The undersigned finds no meaningful arrests for alcohol or drug activities.

    The medical records include reference to recreational and social marijuana and

    alcohol use. How that information would “confuse the issues” is unknown, as

    Frederick makes no specific argument. However, there is no question that alcohol

    and drug abuse can be associated with mental illness. This is a trial issue.

            15.Norred’s statements as reflected in medical and other records

            This is yet another curious argument. Frederick acknowledges the records

    are admissible as business records, but only those statements helpful to her cause

    should be admitted. As previously shown, the records are not hearsay or are clearly

    subject to exception. Notably, experts for trial reviewed and relied on the records

    in forming their opinions, as they are the only evidence of Norred’s condition


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    during her time in the jail. Norred’s conduct in the jail, and all of it, is certainly

    relevant. Finally, Frederick points to no specific entries subject to exclusion. See

    United States v. Gonzalez, 718 F. Supp. 2d 1341, 1345 (S.D. Fla.

    2010)(recognizing that motions in limine should identify specific inadmissible

    evidence).

            16.Allowing evidence of Robertson’s bankruptcy

            The final salvo is also the most strikingly wrong. Frederick seeks to

    introduce evidence that Robertson will not be personally responsible for a verdict

    because that was extinguished in bankruptcy and wants to introduce evidence the

    claim is insured. She cites a few cases for the prospect that insurance coverage can

    be admissible where a defendant claims the potential for ruination from a punitive

    damage award. However, that is not the present case: Robertson can’t be

    responsible because her responsibility was discharged. She simply can’t be ruined

    because she can’t be responsible to pay any verdict.

            Of course, there’s more. Robertson filed a Suggestion of Bankruptcy on May

    5, 2021 and the Court stayed this case the same day [ECF ##120, 121]. The

    bankruptcy court issued an order allowing this case to proceed on September 17,

    2021, limiting Frederick’s recovery to insurance proceeds, only [ECF #123].

    Frederick filed a claim in the bankruptcy court for $950,000, which was a fantasy

    number representing the supposed value of the case. Robertson’s bankruptcy


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    attorney originally objected to the claim, but later withdrew the objection, and the

    bankruptcy trustee decided to pay Frederick $4,706.87 from the bankruptcy estate

    [ECF #134, p. 2].

            Frederick’s ability to recover a potential verdict is limited to insurance

    proceeds, but there’s a fly in her ointment: the insurance company won’t pay any

    damages in this case. There is an insurance policy, and it was provided to

    Frederick’s lawyers three years ago. It provides $4 million in coverage and is

    limited to occurrences in the 2017 calendar year. It also has a $18.5 million overall

    deductible that must be exhausted before the coverage is available, that deductible

    is only reduced by settlements and verdicts, not fees and costs, and is limited to $2

    million, per-case. There is also a $1 million per-case deductible.

            The status of this policy has been discussed with Frederick’s lawyers several

    times over more than a year, including last week. Since it is an occurrence policy

    limited to 2017, all potential cases are known and the various statutes of limitations

    on potential cases have expired. The overall deductible has $13.5 million

    remaining and there is zero chance it will be exhausted.

            The bottom line is that Fredrick is limited to collecting on an insurance

    policy that has no chance of covering a verdict, compensatory or punitive. Telling

    the jury otherwise would be grossly improper.

            The motion should be denied.


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                                              By:       /s/ Gregg A. Toomey
                                                      Gregg A. Toomey
                                                      Florida Bar No. 159689

                                     CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 8th day of September, 2022 I
    electronically filed the foregoing with the Clerk of the Court by using the CM/ECF
    System, which will send a copy of the foregoing electronically to the following:

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                                                           By:       /s/ Gregg A. Toomey
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